                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

            Plaintiff,

v.                                           Criminal Action No. 5:92CR23
                                                                  (STAMP)
RICHARD TURNER,

            Defendant.


                     MEMORANDUM OPINION AND ORDER
        DENYING PETITION FOR EXPUNGEMENT OF FEDERAL CONVICTION

                         I.   Procedural History

     In March 1992, the defendant in the above-styled criminal

matter, Richard Turner, pled guilty to one count of distribution of

crack    cocaine   within   1,000   feet    of   a   protected   location   in

violation of 21 U.S.C. §§ 841(a)(1) and 860.              The defendant was

sentenced to a term of 17 months incarceration, followed by six

years of supervised release.

                                II.   Facts

     The defendant has filed a pro se1 letter requesting that his

federal criminal conviction be expunged from his record.                    ECF

No. 2.    This Court construes the defendant’s letter as a petition

to expunge a federal conviction.           In his petition, the defendant

states that he wishes to have his federal criminal conviction

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      Pro se - “One who represents oneself in a court proceeding
without the assistance of a lawyer.” Black’s Law Dictionary 1416
(10th ed. 2014).     This Court notes that the defendant was
represented in the underlying criminal action but has filed the
petition for expungement to this Court pro se.
expunged because it has been over 27 years since his conviction

when he was only 21 years old.             The defendant states that he has

been fully rehabilitated and has stayed out of trouble.                           The

defendant represents that he now coaches football, basketball, and

has worked with individuals who have mental disabilities for 19

years and counting. The defendant asks that this Court expunge the

prior conviction from his record.

     Although     the   Court        applauds    the   defendant’s      efforts   and

achievements, based on the following, this Court finds that it

lacks jurisdiction to hear the defendant’s petition.

                               III.    Applicable Law

     Federal courts are courts of limited jurisdiction, and can

only exercise the authority conferred by the Constitution or by

statute.     Additionally,            although   18    U.S.C.   §     3231   provides

“district   courts      with    original       jurisdiction     ‘of    all   offenses

against    the   laws   of     the     United    States,’   a   district     court’s

jurisdiction under this statutory provision ends once the judgment

of conviction is entered.” United States v. Mitchell, 683 F. Supp.

2d 427, 432 (E.D. Va. 2010); 18 U.S.C. § 3231.                   Thus, no federal

statute or regulation generally provides for expungement of a

federal offense. Stoute v. United States, CIV.A. RDB-11-1220, 2011

WL 2037672 (D. Md. May 24, 2011).

     Further, federal jurisdiction “is not to be expanded by

judicial decree.”        Kokkonen v. Guardian Life Ins. Co., 511 U.S.


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375,   377   (1994).     Consequently,      a   district    court    must   have

ancillary jurisdiction to complete the expungement of a federal

offense where “there is no explicit constitutional or statutory

grant of jurisdiction.” United States v. Mitchell, 683 F. Supp. 2d

427, 433 (E.D. Va. 2010).

                               IV.   Discussion

       The defendant states that he is seeking expungement of his

federal criminal conviction. Based on the following analysis,

however, this Court finds that the petition for expungement of

defendant’s federal conviction must be denied because this Court

lacks jurisdiction to review the matter.

A.     Kokkonen and Ancillary Jurisdiction

       The concepts and boundaries of ancillary jurisdiction were

explained in the United States Supreme Court’s analysis in Kokkonen

v.   Guardian   Life    Insurance,    511   U.S.    375    (1994).   Ancillary

jurisdiction, or as it is sometimes called, “ancillary enforcement

jurisdiction,” is the concept under which federal courts maintain

jurisdiction over related proceedings that are technically separate

from the claims or causes of action in the initial case that

invoked federal subject matter jurisdiction. Kokkonen, 511 U.S. at

378-89.

       Significantly,    the    Supreme     Court    held    that    ancillary

jurisdiction may be asserted for two purposes: “(1) to permit

disposition by a single court of claims that are, in varying


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respects and degrees, factually interdependent; and (2) to enable

a    court   to   function   successfully,   that   is,   to   manage   its

proceedings, vindicate its authority, and effectuate its decrees.”

Id. at 379-380 (citations omitted).          Thus, in the dispute that

arose in Kokkonen over the enforcement of the terms of a settlement

agreement, the Supreme Court found that it did not have ancillary

jurisdiction because that dispute did not fall within the two

purposes listed above.       Id. at 381-82.    Similarly, as discussed

more fully below, because the expungement of a conviction does not

fall within an area of statutory or constitutional jurisdiction or

within the two purposes provided for under ancillary jurisdiction,

this Court may not exercise its limited jurisdiction.

B.     Expungement of a Federal Conviction

       The defendant states in his letter that he is requesting to

have his record expunged. To reiterate, in order for this Court to

grant expungement of the defendant’s federal conviction, it must

have ancillary jurisdiction.

       The Supreme Court has not directly addressed whether federal

courts have jurisdiction to expunge criminal convictions solely for

equitable reasons.      Importantly for this case, the United States

Court of Appeals for the Fourth Circuit held in Allen v. Webster

that when considering whether or not expungement should be granted

on equitable grounds:

       courts must be cognizant that the power to expunge “is a
       narrow one, and should not be routinely used whenever a

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     criminal prosecution ends in an acquittal, but should be
     reserved for the unusual or extreme case.” United States
     v. Linn, 513 F.2d 925, 927 (10th Cir.), cert. denied, 423
     U.S. 836, 96 S. Ct. 63, 46 L. Ed. 2d 55 (1975). Such
     extreme circumstances have been found and records ordered
     to be expunged where procedures of mass arrests rendered
     judicial determination of probable cause impossible,
     Sullivan v. Murphy, 156 U.S.App.D.C. 28, 478 F.2d 938
     (1973); where the court determined the sole purpose of
     the arrests was to harass civil rights workers, United
     States v. McLeod, 385 F.2d 734 (5th Cir. 1967); where the
     police misused the police records to the detriment of the
     defendant, Wheeler v. Goodman, 306 F. Supp. 58 (W.D.N.C.
     1969); or where the arrest was proper but was based on a
     statute later declared unconstitutional, Kowall v. United
     States, 53 F.R.D. 211 (W.D. Mich. 1971). Id. at 539–540.

Webster, 742 F.2d at 155.

     Some district courts within the Fourth Circuit, in contrast,

have held that Webster is not applicable to expungement cases in

which the defendant is seeking expungement of a federal conviction.

For instance, in United States v. Mitchell, 683 F. Supp. 2d 427

(E.D. Va. 2010), the court held that because (1) Webster came after

Kokkonen and (2) Webster dealt with a criminal conviction that was

later acquitted, it is not applicable to cases that take place

after Kokkonen and deal with criminal convictions that have not

been acquitted.   Mitchell, 683 F. Supp. 2d at 430.   Other Fourth

Circuit district courts have adopted the reasoning of Mitchell.

United States v. Harris, 847 F. Supp. 2d 828, 833 (D. Md. 2012);

Sambou v. United States, 2010 WL 3363034 (E.D.N.C. Aug. 24, 2010).

     This Court finds that the reasoning in Mitchell is sound and

should be applied to this case.   Webster did not address the issue

of ancillary jurisdiction.   Further, Webster predated Kokkonen and

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thus did not discuss the implications of that pronounced ancillary

jurisdiction standard.            Moreover, that case involved a criminal

case in which the defendant had been acquitted.                     Those facts make

Webster wholly distinguishable from the case at hand, where a

convicted defendant seeks expungement that can only be given if

this Court has ancillary jurisdiction.                  Further, as the court in

Mitchell discussed, an expungement of conviction petition does not

fall within the two purposes set forth in Kokkonen.

       First,     the     defendant’s       expungement        petition     is     not

interdependent with the defendant’s criminal convictions under 18

U.S.C. § 3231.      The underlying conviction is “wholly separate and

distinct from the equitable circumstances that defendant contends

justify the expungement of his conviction.” Mitchell, 683 F. Supp.

2d at 433.       Second, the expungement of a criminal conviction does

not “enable a court to function successfully, that is, to manage

its   proceedings,      vindicate     its     authority,      and    effectuate    its

decrees.”       Kokkonen, 511 U.S. at 379-80.             Congress recognized a

“compelling      public    need”    to   retain    criminal     records     when   it

authorized the Department of Justice to acquire and preserve such

records.     United States v. Schnitzer, 567 F.2d 536, 539 (2d Cir.

1977); 28 U.S.C. § 534(a) (authorizing the United States Attorney

General to collect and exchange criminal records).                    The retention

of    criminal    records    is    essential      for    an   effective     criminal




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identification system, as well as for purposes of punishment and

deterrence.   Id.   Further, as the court noted in Mitchell:

     a conclusion that federal courts have ancillary
     jurisdiction to expunge criminal convictions for
     equitable reasons would allow district courts across the
     country to develop possibly inconsistent equitable
     standards for ordering expungement. This in turn might
     result in the expungement of criminal records in some
     districts and the denial of expungement in other
     districts, leading to an impairment of the reliability
     and integrity of federal criminal conviction records.

Mitchell, 683 F. Supp. 2d at 433.

     This Court, therefore, finds that it does not have ancillary

jurisdiction to review the defendant’s petition for expungement of

his federal criminal conviction. Thus, this Court does not have the

authority to grant his petition for expungement and must deny it.2




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      The Court notes that although the defendant’s record cannot
be expunged by this Court, the defendant does have the option of
seeking a Presidential pardon pursuant to 28 C.F.R. § 1.1.
Currently, the federal government employs federal pardon attorneys
who review petitions for Presidential pardon. The United States
Attorneys’ Manual explains the role of a pardon attorney as
follows: “under the direction of the Attorney General,” a Pardon
Attorney “receives and reviews all petitions for . . . pardon after
completion of sentence [,] . . . initiates and directs the
necessary investigations, and prepares a recommendation for
submission to the President in every case.”        1-2.110, Online
Offices of the United States Attorneys (last visited May 6, 2015).
The defendant is hereby informed that if he wishes to pursue a
presidential pardon he should visit the “Office of the Pardon
Attorney” web page at http://www.justice.gov/pardon/ for more
information. This Court would caution the defendant, however, that
this does not mean that such a claim has merit procedurally or
substantively.

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                            V.   Conclusion

     Accordingly, although the Court applauds the defendant's

achievements, under Kokkonen it lacks jurisdiction to grant the

relief    he   seeks.   Accordingly,   the   defendant’s   petition   for

expungement of his federal criminal conviction (ECF No. 2) is

DENIED.

     IT IS SO ORDERED.

     The Clerk is DIRECTED to transmit a copy of this memorandum

opinion and order to the pro se defendant by certified mail, to

counsel of record herein, and to the United States Probation

office.

     DATED:       September 19, 2019



                                 /s/ Frederick P. Stamp, Jr.
                                 FREDERICK P. STAMP, JR.
                                 UNITED STATES DISTRICT JUDGE




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